      Case 2:07-cr-20072-JWL       Document 582       Filed 01/23/14    Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS

United States of America,

                     Plaintiff,

v.                                                             Case No. 07-20072-05-JWL


Clarissa Burgoon,

                     Defendant.

                                  MEMORANDUM & ORDER

       In April 2008, defendant Clarissa Burgoon pled guilty to conspiring to commit money

laundering, in violation of 18 U.S.C. § 1956(a)(1)(A)(i) and (a)(1)(B)(i), (h). In July 2008, the

court sentenced Ms. Burgoon to a 240-month term of imprisonment. This matter is now before

the court on Ms. Burgoon’s motion for modification of her sentence (doc. 573) pursuant to

United States v. Pepper, 131 S. Ct. 1229 (2011) and Ms. Burgoon’s assertion that she has

received and benefitted from post-sentencing rehabilitation programs. The motion is denied.

       In Pepper, the Supreme Court held that when a defendant’s sentence has been set aside

on appeal, a court at resentencing may consider evidence of postsentencing rehabilitation. Id. at

1236. As noted by the Tenth Circuit, however, Pepper does not suggest that a court can

resentence a defendant in the absence of an appellate decision invalidating the original sentence.

United States v. Jones, 515 Fed. Appx. 783, 784 (10th Cir. May 31, 2013) (affirming district

court’s denial of motion for sentence modification and concluding that Pepper did not authorize

court to reduce a valid sentence already imposed where sentence was not set aside on appeal).
      Case 2:07-cr-20072-JWL        Document 582      Filed 01/23/14     Page 2 of 2




       In her reply brief, Ms. Burgoon advances additional arguments in support of her request

for a sentence reduction, but the court is not authorized to reduce Ms. Burgoon’s sentence

simply because she believes the sentence is too lengthy or because she engaged in what she

describes as exemplary conduct while on pre-trial release. The cases cited by Ms. Burgoon

concern either sentencing considerations made at the initial sentencing hearing (not the case

here) or sentencing considerations made in the context of a § 2255 motion (also not the case

here). Ms. Burgoon also asserts, for the first time, that the court should have held an evidentiary

hearing on her § 2255 motion—a motion that was denied more than four years ago. Ms.

Burgoon never sought reconsideration of the court’s order denying her § 2255 motion and it is

clearly too late to do so now.



       IT IS THEREFORE ORDERED BY THE COURT THAT Ms. Burgoon’s motion for

modification of her sentence (doc. 573) is denied.



       IT IS SO ORDERED.



       Dated this 23rd day of January, 2014, at Kansas City, Kansas.



                                                 s/ John W. Lungstrum
                                                 John W. Lungstrum
                                                 United States District Judge




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